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12   Attorneys for Plaintiff Raeha Keller
13
                        UNITED STATES DISTRICT COURT
14
                       CENTRAL DISTRICT OF CALIFORNIA
15   ______________________________________
                                           :
16
     RAEHA KELLER,                         : Case No.:
17                                         :
18
                                           : COMPLAINT FOR
                            Plaintiff,     : COPYRIGHT INFRINGEMENT
19                                         :
20         v.                              :
                                           :
21
     ZOETOP BUSINESS CO., LTD. d/b/a       : DEMAND FOR JURY TRIAL
22   SHEIN and ROMWE                       :
23
                                           :
                            Defendant.     :
24   ______________________________________
25

26

27

28



                                                                           Case No.
                                       1
                      COMPLAINT AND DEMAND FOR JURY TRIAL
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 1
           Plaintiff Raeha Keller (“Plaintiff” or “Ms. Keller”), by and through her undersigned
 2   attorneys, for her complaint against defendant Zoetop Business Co., Ltd. d/b/a Shein and
 3
     Romwe (“Zoetop” or “Defendant”), alleges as follows:
 4

 5                                 NATURE OF THE ACTION
 6
           1.     This is an action for copyright infringement brought by an independent artist
 7

 8   against one of the largest and fastest growing fast fashion retailers in the world. Defendant
 9
     is a Chinese company doing business as SHEIN and ROMWE in the United States and
10
     around the world. Defendant profits by flooding the market with cheap, infringing products
11

12   with little regard for the intellectual property rights of others. Defendant has been
13
     repeatedly sued for copyright infringement but continues to willfully infringe the works of
14

15   independent artists, presumably because it is far more profitable to do so than to comply
16
     with the law. Already banned in India, Defendant has been repeatedly accused of operating
17

18
     sweatshops and engaging in unsafe and unfair business practices.

19         2.     Plaintiff seeks relief for Defendant’s sale and display of various products
20
     featuring unauthorized and infringing copies of her original designs. Plaintiff seeks
21

22   injunctive relief, monetary damages, costs, attorneys’ fees, and such other relief as the
23
     Court deems necessary for Defendant’s willful copyright infringement, distribution of
24

25   goods with missing and altered copyright management information, and distribution of
26
     goods with false copyright management information.
27

28



                                                                                    Case No.
                                       2
                      COMPLAINT AND DEMAND FOR JURY TRIAL
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 1
                                              PARTIES
 2         3.     Plaintiff Raeha Keller is an individual residing in Redondo Beach, California.
 3
     Ms. Keller has satisfied the requirements of 17 U.S.C. § 411 prior to filing this lawsuit.
 4

 5         4.     Upon information and belief, Defendant Zoetop is a Chinese limited company
 6
     with its principal place of business in Hong Kong S.A.R.
 7

 8         5.     Zoetop is one of the most popular fast fashion e-commerce retailers in the
 9
     world. Zoetop operates various e-commerce brands, including SHEIN, ROMWE and
10
     EMMACLOTH. Zoetop advertises, distributes, and sells its products to consumers in over
11

12   200 countries, including the United States. Zoetop primarily sells products direct to
13
     consumers under the SHEIN and ROMWE brands through its websites, www.shein.com
14

15   and www.romwe.com, mobile applications, and social media platforms. Zoetop also sells
16
     products    wholesale    under     its   EMMACLOTH         brand   through    its   website,
17

18
     www.emmacloth.com. In addition, Zoetop advertises and sells its SHEIN and ROMWE

19   products through sample sales, college campus events, and pop-up events across the United
20
     States, including in California.
21

22                                JURISDICTION AND VENUE
23
           6.     This matter is an action for copyright infringement under the Copyright Act,
24

25   17 U.S.C. § 101, et seq., distribution of infringing goods with copyright management
26
     information removed, and distribution of infringing goods with false copyright
27

28



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                                        3
                       COMPLAINT AND DEMAND FOR JURY TRIAL
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 1
     management information in violation of the Digital Millennium Copyright Act, 17 U.S.C.
 2   § 1201 et seq.
 3
           7.     The Court has subject matter jurisdiction pursuant to 17 U.S.C. § 501 and 28
 4

 5   U.S.C. §§ 1331 and 1338, and supplemental jurisdiction pursuant to 28 U.S.C. § 1367.
 6
           8.     Upon information and belief, Defendant Zoetop does systematic business in
 7

 8   California and this District. Zoetop operates e-commerce websites and mobile applications
 9
     that market to consumers in California and this District, offer for sale products to
10
     consumers in California and this District, and enable consumers in California and this
11

12   District to enter into online transactions for a variety of products. Plaintiff is informed and
13
     believes and upon such information and belief alleges that this Court has personal
14

15   jurisdiction over Zoetop in that Zoetop regularly does or solicits business in California and
16
     this District; derives substantial revenue from goods used or services rendered in California
17

18
     and this District; expects or reasonably should expect its infringing conduct to have

19   consequences in California and this District; derives substantial revenue from interstate
20
     commerce; and committed unlawful acts outside of California that caused injury to Plaintiff
21

22   within California and this District.
23
           9.     In the alternative, the Court has personal jurisdiction over Defendant pursuant
24

25   to Fed. R. Civ. P. 4(k)(2).
26

27

28



                                                                                      Case No.
                                        4
                       COMPLAINT AND DEMAND FOR JURY TRIAL
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 1
           10.    Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and 1400
 2   because Defendant committed unlawful acts of infringement in this District, Defendant’s
 3
     unlawful conduct resulted in damage to Plaintiff in this District, and Defendant does
 4

 5   business here and is subject to personal jurisdiction here.
 6
                                   FACTUAL BACKGROUND
 7

 8   I.    Plaintiff’s Original Design
 9
           11.    Ms. Keller is a popular independent artist and designer who makes a living
10
     selling her original designs in the form of enamel pins, embroidered patches, and other
11

12   original products under the brand name Ectogasm. Ms. Keller sells a variety of products
13
     featuring her original designs direct to consumers through her e-commerce website and
14

15   online storefront, located at www.ectogasm.net, and through various authorized third-party
16
     websites and retailers. Renowned for her strange and spooky designs, Ms. Keller has a
17

18
     devoted based of fans and consumers.

19         12.    Twelve of Ms. Keller’s most popular designs are at issue in this action: Broken
20
     Anatomical Heart, “Boooobs” Ghost, Caffeine Fiend, Tentacles in a Teacup, Heart in
21

22   Hands Witchy, Roses in a Lightbulb, “Feminist” Quote Banner with Roses, Pink Pistol,
23
     “Spooky All Year” Pin, Skeleton Heart Hands, “Waste Time and Time Wastes You”
24

25   Hourglass, and “You’re Never Alone If You Have Demons” Ghost Heart (collectively, the
26
     “Original Designs”).
27

28



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                       COMPLAINT AND DEMAND FOR JURY TRIAL
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 1
           13.     Ms. Keller has used the Original Designs on various products, including
 2   enamel pins and embroidered patches, which she sells directly and through authorized
 3
     licensees. Examples of original products featuring the twelve Original Designs are shown
 4

 5   below.
 6
              Broken Anatomical Heart         “Boooobs” Ghost         Caffeine Fiend
 7

 8

 9

10

11

12

13
                 Tentacles in a Teacup         Heart in Hands            Roses in a
14

15
                                                    Witchy               Lightbulb

16

17

18

19

20

21

22
          “Feminist” Quote Banner With            Pink Pistol       “Spooky All Year”
23

24                      Roses
25

26

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                                                                                Case No.
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                       COMPLAINT AND DEMAND FOR JURY TRIAL
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 1
                 Skeleton Heart Hands           “Waste Time and          “You’re Never
 2
                                                Time Wastes You”       Alone If You Have
 3
                                                    Hourglass           Demons” Ghost
 4

 5                                                                            Heart
 6

 7

 8

 9

10

11

12         14.     Ms. Keller has obtained federal copyright registrations for all twelve of the
13
     Original Designs.
14

15
           15.     On June 21, 2019, Ms. Keller obtained federal copyright registration No.

16   VA0002162500 for the Broken Anatomical Heart Original Design.
17
           16.     On October 26, 2020, Ms. Keller obtained federal copyright registration No.
18

19   VA0002222243 for the “Boooobs” Ghost Original Design.
20
           17.     On September 4, 2020, Ms. Keller obtained federal copyright registration No.
21

22   VA0002222463 for the Caffeine Field Original Design.
23
           18.     On September 4, 2020, Ms. Keller obtained federal copyright registration No.
24
     VA0002222464 for the Tentacles in a Teacup Original Design.
25

26         19.     On September 4, 2020, Ms. Keller obtained federal copyright registration No.
27
     VA0002222469 for the Heart in Hands Witchy Original Design.
28



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 1
           20.   On September 4, 2020, Ms. Keller obtained federal copyright registration No.
 2   VA0002222467 for the Roses in a Lightbulb Original Design.
 3
           21.   On June 21, 2019, Ms. Keller obtained federal copyright registration No.
 4

 5   VA0002162489 for the “Feminist” Quote Banner with Roses Original Design.
 6
           22.   On June 21, 2019, Ms. Keller obtained federal copyright registration No.
 7

 8   VA0002162490 for the Pink Pistol Original Design.
 9
           23.   On July 15, 2018, Ms. Keller obtained federal copyright registration No.
10
     VA0002136902 for the “Spooky All Year” Pin Original Design.
11

12         24.   On June 21, 2019, Ms. Keller obtained federal copyright registration No.
13
     VA0002162495 for the Skeleton Heart Hands Original Design.
14

15         25.   On October 26, 2020, Ms. Keller obtained federal copyright registration No.
16
     VA0002222242 for the “Waste Time and Time Wastes You” Hourglass Original Design.
17

18
           26.   On June 21, 2019, Ms. Keller obtained federal copyright registration No.

19   VA0002162496 for the “You’re Never Alone If You Have Demons” Ghost Heart Original
20
     Design.
21

22         27.   Numerous forms of copyright management information—namely, Ms.
23
     Keller’s brand name, logo, website address, and social media handle—are included on
24

25   authorized copies of the Original Designs and their packaging, as shown below. This
26
     information, which is created and placed on authorized copies of the Original Designs and
27
     their packaging via a digital and technological process involving computer software and
28



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 1
     printing machinery, serves to identify Ms. Keller as the author and copyright owner of the
 2   Original Designs.
 3

 4

 5

 6

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11

12          28.   Ms. Keller further conveys such copyright management information in
13
     connection with the Original Designs on her website, social media accounts, and third-
14

15   party websites.
16
     II.     Zoetop Infringed Plaintiff’s Copyrights
17
            29.   Zoetop is a fast fashion retailer that advertises and sells apparel, accessories,
18

19   jewelry, and other products through its various brands, including SHEIN, ROMWE and
20
     EMMACLOTH.          Zoetop sells SHEIN and ROMWE branded products directly to
21

22   consumers through websites, mobile applications, and social media platforms.
23
            30.   Zoetop’s SHEIN and ROMWE brands are two of the most popular and fastest
24

25
     growing brands in the online fast fashion market. Zoetop’s SHEIN and ROMWE brands

26   are known for their targeted advertising social media campaigns, consistently advertising
27
     products with steep discounts. Zoetop also advertises its promotional events throughout
28



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 1
     the United States, including in California and this District, on the SHEIN and ROMWE
 2   brand social media accounts, including Facebook and Instagram, located at
 3
     facebook.com/shein2019, facebook.com/Romwe.official/, instagram.com/sheinofficial,
 4

 5   instagram.com/shein_us, and instagram.com/romwe_fun.
 6
           31.    Zoetop profits by flooding the market with cheap, infringing products with
 7

 8   little regard for the intellectual property rights of others. Numerous online blogs and videos
 9
     of consumers discuss the low quality of SHEIN and ROMWE goods. Zoetop has been
10
     repeatedly sued for copyright infringement but continues to willfully infringe the works of
11

12   independent artists, presumably because it is far more profitable to do so than to comply
13
     with the law, e.g., by creating or licensing original works. Already banned in India, Zoetop
14

15   has been repeatedly accused of operating sweatshops and engaging in unsafe and unfair
16
     business practices.
17

18
           32.    Without Ms. Keller’s authorization, Zoetop created, manufactured, caused to

19   be manufactured, imported, marketed, distributed, and/or sold at least twenty products
20
     featuring designs that are strikingly similar to the Original Designs (collectively, the
21

22   “Infringing Products”).
23
           33.    Below is a side-by-side comparison of the Original Designs and the Infringing
24

25   Products. The below comparison makes immediately apparent that the elements,
26
     compositions, arrangements, layouts, renderings, designs, and appearances of the
27

28



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 1
     Infringing Products are strikingly similar (if not identical) to the Original Designs.
 2   Additional examples of the Infringing Products are attached as Exhibit A.
 3
                     Original Designs                       Infringing Products
 4

 5                                                       2pcs Heart Design Brooch
 6
                                                        SKU: swbrooch18200806169

 7

 8

 9

10

11

12                                                        2pcs Skeleton Brooch
13                                                      SKU: rwbrooch18200916103
14

15

16

17

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                      COMPLAINT AND DEMAND FOR JURY TRIAL
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 1
                                                     Cup Design Brooch
                                                  SKU: swbrooch18200720817
 2

 3

 4

 5

 6

 7
                                                    Ghost Design Brooch
 8
                                                  SKU: swbrooch18200904377
 9

10

11

12

13

14
                                               Kids Halloween Cup Design Brooch
15                                                SKU: skjewelry18200805535
16

17

18

19

20

21
                                                     Cup Design Brooch
22                                                SKU: swbrooch18201013213
23

24

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                  COMPLAINT AND DEMAND FOR JURY TRIAL
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 1
                                                  Heart & Hand Design Brooch
                                                  SKU: swbrooch18200821859
 2

 3

 4

 5

 6

 7

 8
                                                Heart Hand Organ Design Brooch
 9                                               SKU: swbrooch18201013978
10

11

12

13

14

15

16                                               2pcs Light Bulb Shaped Brooch
17                                                SKU: swbrooch18200525759
18

19

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 1                                                 3 pcs Hand Shaped Brooch
 2
                                                  SKU: swbrooch18200525408
 3

 4

 5

 6

 7

 8

 9

10

11

12
                                              3pcs Flower & Scissor Design Brooch
13                                                SKU: swbrooch18191120976
14

15

16

17

18

19

20

21
                                                     Cartoon Brooch 5pcs
22                                                  SKU: brooch180822801
23

24

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 1
                                             Skeleton & Rose Detail Brooch Set 2pcs
                                                    SKU: brooch190116833
 2

 3

 4

 5

 6

 7

 8
                                               Gun & Light Bulb Brooch Set 3pcs
 9                                                 SKU: brooch190116852
10

11

12

13

14

15

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17

18

19                                                  Ghost Design Brooch
20
                                                  SKU: swbrooch18200714306
21

22

23

24

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26

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 1
                                                  4pcs Skeleton Design Brooch
                                                  SKU: swbrooch18200521754
 2

 3

 4

 5

 6

 7

 8

 9

10

11                                              Skeleton Design Brooch Set 3pcs
12
                                                 SKU: swbrooch03190419362

13

14

15

16

17

18

19

20

21
                                                   Hourglass Creative Brooch
                                                  SKU: swbrooch18200930308
22

23

24

25

26

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 1
                                                           Kids Ghost Décor Pin
                                                         SKU: skjewelry18200731439
 2

 3

 4

 5

 6

 7
                                                  Girls Slogan Graphic Heart Design Brooch
 8                                                       SKU: skjewelry18200609376
 9

10

11

12

13

14

15

16         34.    Zoetop’s infringement of the Original Designs has been willful. Zoetop never
17
     attempted to contact Ms. Keller to inquire about properly licensing her work. Instead,
18

19   Zoetop simply raided Ms. Keller’s intellectual property to create multiple Infringing
20
     Products. Upon information and belief, Zoetop knows it is sourcing cheap products from
21
     suppliers who regularly deal in infringing products but continues to do so without
22

23   implementing any reasonable checks to prevent the continued flood of infringing goods
24
     into the United States and this District.
25

26         35.    Upon information and belief, Zoetop knowingly distributed infringing copies
27
     of the Original Designs and infringing products with Ms. Keller’s copyright management
28



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 1
     information removed therefrom. Without Ms. Keller’s authorization, Zoetop knowingly
 2   distributed the Infringing Products, which feature copies of the Original Designs that are
 3
     missing the copyright management information placed on authorized copies of the Original
 4

 5   Designs and their packaging. In sourcing the Infringing Products from disreputable
 6
     suppliers, Zoetop either knew that the cheap products it was sourcing were infringing or
 7

 8   was at least reckless as to sourcing such clearly infringing products from its suppliers.
 9
     Upon information and belief, Zoetop knowingly traded in such Infringing Products from
10
     which Ms. Keller’s copyright management information had been removed.
11

12         36.   Zoetop also provided several types of false copyright management
13
     information in connection with its distribution of the Infringing Products. Namely, Zoetop
14

15   affixed the “SHEIN” name, logo, website address, Instagram social media handle, and a
16
     QR code that links to SHEIN’s Instagram account, to the packaging of the Infringing
17

18
     Products, as shown below. Such information serves to misidentify Zoetop, via its trade

19   name SHEIN, as the author and/or copyright owner of the Original Designs.
20

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 1

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10         37.    Zoetop also affixed the “#ROMWEoriginals” social media hashtag on the
11
     listings of Infringing Products displayed and offered for sale on the ROMWE website, as
12

13
     shown below. Such information directly serves to misidentify Zoetop, via its trade name

14   ROMWE, as the author and/or copyright owner of the Original Designs.
15

16

17

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19

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25         38.    Upon information and belief, Zoetop knew that the copyright management
26
     information that it affixed to copies of the Original Designs was false because Zoetop knew
27

28



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 1
     that Ms. Keller, and not Zoetop, was the true author and copyright owner of the Original
 2   Designs.
 3
           39.     Upon information and belief, Zoetop provided false copyright management
 4

 5   information in connection with copies of the Original Designs for the purpose of giving
 6
     consumers the impression that Zoetop was the author and copyright owner of the Original
 7

 8   Designs. Zoetop intended that by doing so, it would facilitate the sale of the Infringing
 9
     Products and conceal the fact that it was infringing the Original Designs.
10
           40.     Ms. Keller has been forced to file this action in order to protect her rights and
11

12   livelihood.
13
                                   FIRST CLAIM FOR RELIEF
14
                    COPYRIGHT INFRINGEMENT - 17 U.S.C. § 501, et seq.
15

16
           41.     Plaintiff repeats and realleges each and every allegation set forth in paragraphs
17
     1 through 40 above and incorporates them herein by reference.
18

19         42.     Plaintiff has complied in all respects with the copyright laws of the United
20
     States, 17 U.S.C. § 101 et seq., and has secured the exclusive rights and privileges in and
21

22   to the copyrights in the Original Designs.
23
           43.     Defendant had access to Plaintiff’s Original Designs, including, without
24

25
     limitation, through (a) viewing the Original Designs on Plaintiff’s website or social media;

26   (b) viewing the Original Designs on an authorized third-party retailer’s website or social
27

28



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 1
     media; and/or (c) purchasing products featuring the Original Designs from Plaintiff or an
 2   authorized third-party retailer.
 3
            44.   Defendant copied, reproduced, distributed, adapted, and/or publicly displayed
 4

 5   elements of the Original Designs without the consent, permission, or authority of Plaintiff.
 6
            45.   Defendant’s conduct constitutes infringement of Plaintiff’s copyrights and
 7

 8   exclusive rights in violation of 17 U.S.C. §§ 106 and 501.
 9
            46.   Defendant’s acts of infringement have been willful, intentional, purposeful,
10
     and/or in reckless disregard of and with indifference to Plaintiff’s rights.
11

12          47.   Plaintiff is entitled to actual damages and Defendant’s profits attributable to
13
     the infringement both in the United States and around the world, pursuant to 17 U.S.C. §
14

15   504.
16
            48.   Alternatively, Plaintiff is entitled to one award of statutory damages for each
17

18
     Original Design, pursuant to 17 U.S.C. § 504.

19          49.    Plaintiff is entitled to an order enjoining and restraining Defendant, during
20
     the pendency of this action and permanently thereafter, from manufacturing, distributing,
21

22   importing, exporting, marketing, displaying, offering for sale, or selling the Infringing
23
     Products or any other products which bear substantially similar copies of Plaintiff’s
24

25   copyrighted Original Designs.
26
            50.    Plaintiff has no adequate remedy at law.
27

28



                                                                                    Case No.
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 1
                        SECOND CLAIM FOR RELIEF
            DISTRIBUTION OF INFRINGING GOODS WITH COPYRIGHT
 2          MANAGEMENT INFORMATION REMOVED - 17 U.S.C. § 1202(b)
 3
           51.   Plaintiff repeats and realleges each and every allegation set forth in paragraphs
 4

 5   1 through 50 above and incorporates them herein by reference.
 6
           52.   The Original Designs include conspicuous copyright management
 7

 8   information, which is conveyed in connection with the Original Designs and protected
 9
     under 17 U.S.C. § 1202(b).
10
           53.   Plaintiff further conveys such copyright management information in
11

12   connection with the Original Designs on her website, social media accounts, and third-
13
     party websites.
14

15         54.   Defendant knowingly distributed the Infringing Products, which feature
16
     copies of the Original Designs that are missing the copyright management information
17

18
     placed on authorized copies of the Original Designs and their packaging.

19         55.   Upon information and belief, Defendant knowingly sourced, sold, and
20
     distributed infringing products featuring copies of the Original Designs that are missing
21

22   the copyright management information placed on authorized copies of the Original Designs
23
     and their packaging.
24

25         56.   Upon information and belief, Defendant knowingly sold infringing products
26
     featuring copies of the Original Designs from which copyright management information
27
     had been intentionally removed.
28



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                                       22
                       COMPLAINT AND DEMAND FOR JURY TRIAL
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 1
            57.   Upon information and belief, Defendant knowingly distributed and imported
 2   for distribution unauthorized copies of the Original Designs from which copyright
 3
     management information had been intentionally removed.
 4

 5          58.   Defendant distributed the Infringing Products with the knowledge that doing
 6
     so would induce, enable, facilitate, or conceal an infringement of Plaintiff’s rights under
 7

 8   the Copyright Act, 17 U.S.C. § 101 et seq.
 9
            59.   Defendant engaged in these activities without the consent or authorization of
10
     Plaintiff.
11

12          60.   Plaintiff has been injured as a result of Defendant’s multiple violations of 17
13
     U.S.C. § 1202(b) and is entitled to injunctive relief, impounding of the Infringing Products,
14

15   damages, costs, and attorney’s fees. Pursuant to 17 U.S.C. § 1203(c)(3), Plaintiff may also
16
     elect to recover statutory damages of up to $25,000 for each violation of 17 U.S.C. §
17

18
     1202(b).

19                                THIRD CLAIM FOR RELIEF
20     FALSE COPYRIGHT MANAGEMENT INFORMATION - 17 U.S.C. § 1202(a)
21

22          61.   Plaintiff repeats and realleges each and every allegation set forth in paragraphs
23
     1 through 60 above and incorporates them herein by reference.
24

25
            62.   Upon information and belief, Defendant intentionally and knowingly

26   provided false copyright management information in connection with the Infringing
27
     Products. Specifically, Defendant affixed the “SHEIN” name, logo, website, and Instagram
28



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 1
     social media handle as well as a QR code for Defendant’s SHEIN’s Instagram account to
 2   the packaging of the Infringing Products.
 3
            63.   Upon information and belief, Defendant intentionally and knowingly
 4

 5   imported for distribution and distributed false copyright management information in
 6
     connection with the Infringing Products.
 7

 8          64.   Upon information and belief, Defendant knew that the copyright management
 9
     information it conveyed in connection with the Infringing Products was false because
10
     Defendant knew that Plaintiff, and not Defendant, was the true author and copyright owner
11

12   of the Original Designs.
13
            65.   Upon information and belief, Defendant knowingly provided such false
14

15   copyright management information and distributed and imported such false copyright
16
     management information in connection with the Infringing Products with the intent to
17

18
     induce, enable, facilitate, or conceal an infringement of Plaintiff’s rights under the

19   Copyright Act.
20
            66.   Defendant engaged in these activities without the consent or authorization of
21

22   Plaintiff.
23
            67.   Plaintiff has been injured as a result of Defendant’s multiple violations of 17
24

25   U.S.C. § 1202(a) and is entitled to injunctive relief, impounding of the Infringing Products,
26
     damages, costs, and attorney’s fees. Plaintiff may also elect to recover statutory damages
27

28



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                                      24
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 1
     pursuant to 17 U.S.C. § 1203(c)(3) of up to $25,000 for each violation of 17 U.S.C. §
 2   1202(a).
 3
           WHEREFORE, Plaintiff demands judgment as follows:
 4

 5         1.     For an order permanently restraining and enjoining Defendant from copying,
 6
     reproducing, distribution, adapting, and/or publicly displaying the Original Designs or any
 7

 8   elements thereof;
 9
           2.     For an order requiring the destruction of all of Defendant’s infringing
10
     products, including the Infringing Products, and all marketing, advertising, or promotional
11

12   materials depicting Defendant’s infringing products;
13
           3.     For an award of Plaintiff’s actual damages in connection with Defendant’s
14

15   willful copyright infringement;
16
           4.     For an award of all of Defendant’s disgorged worldwide profits attributable
17

18
     to Defendant’s copyright infringement;

19         5.     For an award of statutory damages for each Original Design under the
20
     Copyright Act, 17 U.S.C. § 504(c), as well as attorney’s fees and costs under the Copyright
21

22   Act, 17 U.S.C. § 505;
23
           6.     For an award of $25,000 per violation of 17 U.S.C. § 1202(a), an order
24

25   requiring the impounding of all existing copies of the Infringing Products under 17 U.S.C.
26
     § 1203, and an award of Plaintiff’s costs and attorney’s fees under 17 U.S.C. § 1203;
27

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                                                                                  Case No.
                                         25
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 1
           7.      For an award of $25,000 per violation of 17 U.S.C. § 1202(b), an order
 2   requiring the impounding of all existing copies of the Infringing Products under 17 U.S.C.
 3
     § 1203, and an award of Plaintiff’s costs and attorney’s fees under 17 U.S.C. § 1203;
 4

 5         8.      For reasonable attorney’s fees and costs of suit incurred herein; and
 6
           9.      For interest, including prejudgment interest, on the foregoing sums; and
 7

 8         10.     For such other and further legal and equitable relief as the Court deems just
 9
     and proper.
10

11

12   Dated:      September 8, 2021                   Respectfully Submitted,
13
                                                     BYRON RAPHAEL LLP
14

15                                                   By: /s/ Jordan Raphael
                                                     Jordan Raphael
16

17                                                   KUSHNIRSKY GERBER PLLC
18
                                                     Andrew Gerber

19
                                                     Attorneys for Plaintiff Raeha Keller
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                                                                                    Case No.
                                        26
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 1                                   DEMAND FOR JURY TRIAL
 2

 3          Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury
 4   of all issues so triable in this action.
 5

 6
     Dated: September 8, 2021                            BYRON RAPHAEL LLP
 7                                                 By: /s/ Jordan Raphael
 8                                                 Jordan Raphael
 9
                                                   KUSHNIRSKY GERBER PLLC
10                                                 Andrew Gerber
11
                                                   Attorneys for Plaintiff Raeha Keller
12

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                                        27
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              EXHIBIT A
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Shein.com Listing for 2pcs Heart Design Brooch:




Emmacloth.com Listing for 2pcs Light Bulb Shaped Brooch:
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Romwe.com Listing for 2pcs Light Bulb Shaped Brooch:




Shein.com Listing for 2pcs Light Bulb Shaped Brooch:
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Romwe.com Listing for 2pcs Skeleton Brooch:




Emmacloth.com Listing for 3pcs Hand Shaped Brooch:
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Shein.com Listing for 3pcs Flower & Scissor Design Brooch:




Romwe.com Listing for 3pcs Flower & Scissor Design Brooch:
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Shein.com Listing for 4pcs Skeleton Design Brooch:




Romwe.com Listing for 4pcs Skeleton Design Brooch:
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Shein.com Listing for Cartoon Brooch 5pcs:




Romwe.com Listing for Cartoon Brooch 5pcs:
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Shein.com Listing for Cup Design Brooch:




Romwe.com Listing for Cup Design Brooch:
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Shein.com Listing for Cup Design Brooch:




Shein.com Listing for Ghost Design Brooch:
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Shein.com Listing for Ghost Design Brooch:




Romwe.com Listing for Ghost Design Brooch:
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Shein.com Listing for Girls Slogan Graphic Heart Design Brooch:




Shein.com Listing for Hourglass Creative Brooch:
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Shein.com Listing for Gun & Light Bulb Brooch Set 3pcs:




Romwe.com Listing for Gun & Light Bulb Brooch Set 3pcs:
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Shein.com Listing for Hand Heart Organ Design Brooch:




Romwe.com Listing for Hand Heart Organ Design Brooch:
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Shein.com Listing for Heart & Hand Design Brooch:




Romwe.com Listing for Heart & Hand Design Brooch:
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Shein.com Listing for Kids Ghost Decor Pin:




Shein.com Listing for Kids Halloween Cup Design Brooch:
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Shein.com Listing for Skeleton & Rose Detail Brooch Set 3pcs:




Romwe.com Listing for Skeleton & Rose Detail Brooch Set 3pcs:
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Shein.com Listing for Skeleton Design Brooch Set 3pcs:




Romwe.com Listing for Skeleton Design Brooch Set 3pcs:
